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TTWENTY-SECOND JUDICIAL CIRCUIT OF MISSOURI
CIVIL COURTS BUILDING
10 NORTH TUCKER BLVD.
ST. LOUIS, MISSOURI 63101

Rex M. BURLISON (314) 622-4819
PRESIDING JUDGE FAX (314) 589-6599
EMAIL rex. burlison@courts.mo.gov

July 10, 2019

Honorable Dan Aaron Polster

Carl B. Stokes United States Courthouse
801 Superior Ave.

Courtroom 18B

Cleveland, OH 44113-1837

RE: National Prescription Opiate Litigation 1:17-MD-2804
Dear Judge Polster:

As we previously discussed, I am the Presiding Judge for the 22"4 Judicial Circuit of
Missouri, located in the City of St. Louis. In my prior correspondence, under date of June 25,
2019, I referenced the case of Jefferson County et al., v. Williams et al., (#1922-CC00203). That
case involves 21 Missouri counties and cities, as Plaintiffs, filing jointly against opioid
manufacturers, distributors, pharmacies and prescription benefit managers. The case was
removed and now is within your inventory of cases in the National Prescription Opiate
Litigation.

Currently I preside over State of Missouri v. Purdue Pharma, L.P., el al., (#1722-
CC10626), filed by the Attorney General of the state of Missouri, against manufacturers of
opioids. Obviously, the opioid problem is a concern across Missouri and the United States. The
criminal case load in the city of St. Louis is heavy with defendants addicted to opioids, heroin
and fentanyl, straining budgets and resources.

I would appreciate if you would consider severing and remanding your Jefferson and
Franklin county cases to the 22" Judicial Circuit of Missouri. The counties of Jefferson and
Franklin, if remanded, would allow a regional approach to litigate the interest of the metropolitan
St. Louis area. These counties lie to the south and west of St. Louis and represent a cross section
of the interests of this area of Missouri. While the city of St. Louis is an urban area, Jefferson
county is primarily suburban with some rural and Franklin county is mostly rural. The
concentration of these cases in this circuit would provide timely management, coordination and
adjudication of these claims and defenses. For these reasons, I request that you sever and
remand these two cases to the 22"4 Judicial Circuit of Missouri where they can be consolidated
with my State case and tried together.

 
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The 22" Judicial Circuit of Missouri is capable of handling this complex litigation.
Judges assigned to this circuit’s mass tort docket have for years presided over complex cases,
from filing to verdict. If these two Plaintiffs are severed and remanded, I would anticipate the
entry of case management orders, setting out discovery deadlines and a prompt trial dates.

Thank you for your continued considerations.

Sipgerely,

   

 

Rex Burlison
Presiding Judge
22"4 Judicial Circuit
State of Missouri

 
